Case 8:22-cv-01144-CEH-AEP Document 20 Filed 07/25/22 Page 1 of 2 PageID 84




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION
DYLAN PICKETT,

                   Plaintiff,
                                          Case Number: 8:22-cv-1144-CEH-AEP
      v.

DEINDE FINANCIAL, LLC,
DEINDE GROUP, LLC, and
TRANSPORTATION ALLIANCE
BANK, INC.,

                 Defendants.
______________________________________/

                    NOTICE OF SETTLEMENT AS TO
                TRANSPORTATION ALLIANCE BANK, INC.

      COMES NOW, the Plaintiff, Dylan Pickett, to notify this court pursuant to

Local Rule 3.09 that he has reached a settlement with Defendant Transportation

Alliance Bank, Inc. Upon consummation of the settlement terms, the Plaintiff will

dismiss Transportation Alliance Bank, Inc., with prejudice.

      Submitted this July 25, 2022, by:

                                                     /s/ Brandon D. Morgan
                                                     Brandon D. Morgan, Esq.
                                                     Florida Bar Number: 1015954
                                                     Seraph Legal, P. A.
                                                     1614 N. 19th St.
                                                     Tampa, FL 33605
                                                     (813) 567-1230
                                                     bmorgan@seraphlegal.com
                                                     Counsel for Plaintiff
Case 8:22-cv-01144-CEH-AEP Document 20 Filed 07/25/22 Page 2 of 2 PageID 85




                           CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF. This document has been served on
Defendants’ counsel via e-mail and a CM/ECF e-service system notice sent to all
attorneys of record.

                                                     /s/ Brandon D. Morgan
                                                     Brandon D. Morgan, Esq.
                                                     Florida Bar Number: 1015954
